

Matter of Grigorova (2019 NY Slip Op 01486)





Matter of Grigorova


2019 NY Slip Op 01486


Decided on February 28, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.




Decided and Entered: February 28, 2019
[*1]
In the Matter of TSVETA VESELINOVA GRIGOROVA, an Attorney.
 
(Attorney Registration No. 4868360)

Calendar Date: February 25, 2019

Before: Garry, P.J., Egan Jr., Lynch, Rumsey and Pritzker, JJ.


Tsveta Veselinova Grigorova, Veliko Tarnovo, Bulgaria,
pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Tsveta Veselinova Grigorova was admitted to practice by this Court in 2010 and lists a business address in Sofia, Bulgaria with the Office of Court Administration. Grigorova now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Chief Attorney.
As is noted by AGC, Grigorova is presently delinquent in her New York attorney registration requirements, having failed to register for the biennial period beginning in 2018 (see Judiciary Law § 468-a; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1). Inasmuch as Grigorova is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Professional Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [2014]), she is ineligible for nondisciplinary resignation and her application must be denied (see Matter of Cluff, 148 AD3d 1346, 1346 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]). Further, any future application by Grigorova must be supported by proof of her full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [2017]).
Garry, P.J., Egan Jr., Lynch, Rumsey and Pritzker, JJ., concur.
ORDERED that Tsveta Veselinova Grigorova's application for permission to resign is denied.








